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                                                                                                                             Tampa
                                                                                                                  West Palm Beach




       Nicholas A. Mastroianni, II                                                           VIA FEDEX OVERNIGHT
       112 Santander Drive
       Jupiter, FL 33458


                    Re:      National City Bank loan to Cocoa Landing, LLLP in the original principal
                             amount of $5,785,000 (the "Loan") secured by a mortgage on
                             approximately 66.79 acres of vacant land located at the southeast corner
                             of Cox Road and State Road 524 in Cocoa, Brevard County, Florida (the
                             "Property") /Circuit Court of the Eighteenth Judicial Circuit in and for
                             Brevard County, Florida, Case No.: 05-2011-CA-007689 (the
                             "Foreclosure Action")

       Dear Mr. Mastroianni:

              We represent PNC Bank, National Association, as successor-in-interest to National City
       Bank, a National Banking Association ("PNC") with respect to the Loan.

               Cocoa Landing, LLLP ("Cocoa") defaulted under the loan documents at issue by failing
       to pay the unpaid principal balance on the maturity date of the Loan, which was September 15,
       2008.

               As a result of the defaults under the Loan, a Final Judgment of Foreclosure was entered
       on July 18, 2011 in the Foreclosure Action adjudicating that $8,579,527.94 was due to PNC as
       of July 18, 2011. The foreclosure sale was held in the Foreclosure Action on August 24, 2011
       and PNC's assignee, Capstone ResDev LLC, a Delaware limited liability company, was the
       successful bidder at the sale. As of the August 24, 2011 foreclosure sale date, the fair market
       value of the property was no more than $2,250,000, leaving a deficiency balance as of August
       24, 2011 of $6,329,527.94, plus interest. Since the August 24, 2011 foreclosure sale, the only
       payments PNC has received on the Loan total $200,000, which $200,000 does not cover the
       majority of interest that has accrued on the outstanding deficiency balance of $6,329,527.94.

              As you know, on September 15, 2015, you executed a Commercial Guaranty,
       unconditionally guaranteeing full payment of all amounts due to PNC on the Loan, and on
       March 12, 2008, you also executed a Reaffirmation of Guaranty, reaffirming all of your
       obligations under the original Commercial Guaranty. Copies of the Commercial Guaranty and
       Reaffirmation of Guaranty are enclosed herewith.

               This letter is written notification to you that unless a settlement can be reached with
       respect to your obligations under the Commercial Guaranty within fifteen (15) days of the date
       of this letter, by no later than April 26, 2013, PNC will initiate legal proceedings against you to


       26727844.1
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    Nicholas A. Mastroianni, II
    April 11, 2013
    Page 2

     collect all outstanding amounts due to PNC on the Loan including, but not limited to, the
     outstanding principal deficiency balance of $6,329,527.94.

            If you desire to resolve this matter, please have your counsel contact me as soon as
     possible to discuss potential settlement scenarios. If you are unrepresented by counsel, you
     may contact me directly, but I would advise you to obtain counsel, if possible.

             Nothing in this letter should be considered, or construed as, a waiver by PNC of any of
    its rights under the Loan Documents, or any other available legal and/or equitable remedies, as
    PNC hereby expressly reserves all of its rights under the Loan Documents and in law and
    equity.

             If you have any questions, please contact me.

                                                     Sincerely,

                                                     CARLT N IELDS, P.A.




     JRH/so                                          John    Hart
     Enclosures

     cc:     PNC Bank, National Association
             c/o Denise M. Schornack (via e-mail)




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Case 9:13-cv-80914-KLR Document 1-11 Entered on FLSD Docket 09/10/2013 Page 4 of 7



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     uoim a[ ,awff. cou~4~rc~ixm, edm7ee d8mand. eaealp~hKi[ tr iimil~r right. wFel~:~ ew:h cfeim, damarai ar ryl,~ mak ha
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     GVAflN/fOA'S UNDERS7IUI~[fJ[~ VM17H 19~SPECT TQ WAIS/pFtS, tlWranior riaaarnes and e~re~ L+~s~ ~.U~ qI the waiav-'t sql Fella RbpttR is
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     5#184AGINATION OF BQRAp{MfcA'6 pE$TS TO GUARAM'fbR. suatanco~ roprees lh6e 1~ tndah.~ede~cse, wka~her ~~ ax;it~ « ~ra~fpdr
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     ~saArent. ~'iu~renew ~are~y oxp~a~dY eybet~Ainatcs anp claim R'.uta.q~r rnaY havQ s,~a:nc: 8ari7Wdr. Upp~n x~y atCCut~~ Wt+atsdEver, !o any
     da'~n thse tower r+av r+oM ar hrie~shry i,Av_ .pains) aancr or. In the evtr e of hWl~tnry end eanmagwRt i~pnda[i~m ai thn a~se~s c! lb~ iartirer.
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           Pliiu~ .IufY, lel~dlf Ynd G.or~lavt AGELI wa[Y4 Rhi x~g!!t ~ dnY ~Y heel irF a~Y ~Llon. ~tleO~Eing, er gpuntwlfnim b'c4M by ~l:l~er
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       lu~tieA il.erulpr ai fraq,t ennJ~yr bpd wilfa[i pnp•hund~ed(wanly S1 ~4i day; 9f pae+owces:ig~ ~cae arm. 7 spy Qt 1Fni tax ~e~urn and a aig~+ed
       aria dby.~ Kn~uip~t atalemc~ with p51~JrN~p 4nnifbrokc ~a{ie s.~.eme:~ta.
       o~~ht[Ti~Ns. lrt~ tamo~v~iig c~plsGr~i v~o.d~ uq[ Ignn; ds711 hemp Sl~C tO~pw~ mcui~+ga whcn treed in ,h+s Geararry. UolB54 SpNCNFICE~y
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       ut ~d'r. the ue~~ul~ eNa6 it~h~da tEw~ pArt~, and dso ~rrat ekdl i~skeda ffx ainpular; as 1.5n eaortaxa maq ~agsme. WCide and farms +we o!hvrnies
       ddlief~d 1~ ~hS 671~fifi1~V YA~II h~Y~ 9Ft FAlsFlilSe} NLlIbUI~ 161Uta El:7ti~ I~1 (!10 Un:f41M ~GhdelCfGl~l COd4=
           bor~v+~er. The wortf `B4rra•+aEr' moans Cocoa Landing, LLLP and faelaaes all co-signers w+a eo-maier~ a+gring i+~e ttlo;a ind e~ ~hrk
           s~ctassoe3 and ue~~.
           ,~rm.[o~. Fhn word `GWifinlWY T•#afl! 9t'gfypAt !~(}'t1e0 1hI4 GU9r0A;Y. ~nN,~elnp withow I:Tl~adcn Nichdaq A_ tJaeue~~r•M. ~F. Pod In
           eerh case. any alOrw's wcce5sors and eselpm
           EiJILfB1elX. ~I1Q wo~Q 'fvf~knlX" ~n:e lt~c guaa-Sy from U~meanf x 1.4 La'~4e,
           ~09b10d71~5~. 1tR WO[a `I[ldC~d~dIICS~' rnaani $o[eOwer't indn6fnthie~a lu Lu ada~ as me!e tae I~c-duiy ~nsrn6ed in Fhis G~m:aal y.
           Eend+x, ~+e 4.4rd ~p~5f~af ~ m4ahc F~t~eIi1V Ff~Ki~ 1.~nF{ ~ Tf4ii, 1:7 F~/GGfi4~M9 9~d a6i~9~,
           hfai~. T~s ward 'Nola' mea*s anti ~rcl~.dee wl~h~rt Il~bp~x: eM vl 3mr~~wgr's pr~rnls~p~V a~ir~ a~dJpr nadlt eg~~mon;s ~rpenprp
           6yrro,M1~9 loon abGpalions in lever o► fender, :a~e~F:ar wl~n e!1 re~ewaFi o~, etea-vien3 a!, modlieai~,r~ pl, raGnie7rgt 91, C~~Wi~fp:;~r,~
           p!en¢      ft"[~Rlpn} tot peq~nsgpe~r neN} Qt ~rp¢it ~pr4~?4n1l=
           ReY-tad OGeuu~nwl~. 1hs retnie 'Meleeed Qoewrenu' mew ntl pa~tussary n~e~, pr~Cit e~eemCnkS. lr,~n {~t~:ngni~. onriF9r~~nl~
           opreefrmrtl3, puuantms, ct:u:ny aq.narndnts, ss'mrlg.odvs, dae~s of trot, g~~aily doeds. cell~d~a[ ~no~~gagen. and aH o~+gr uQnvmxnly.
           baramricnls c+A! ~atwnonfs, v~nttua ra w a F~eailae e=istu+p, a+acwed in connection wNh tFa ~e5~ta3~a~a.
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       T~7Yf9. 1M ~    ~IfI~l1C~ EAC[t GUAfWI'lfU~ 11k17~k$YAF~$ fNA~ 7FU~ 4s`LIA(LAIYY~Y 13 ~F~~CFL11~ 11POR GUhHAIIC[Q}t'S EXE~{aTLUN ANp
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     u'1 FF~ - tDPt    0 -aU!lAilOh! OF CUJUiANTY'. NO FORMAL ACCErifiAMCE BY LEHTiER I$ f1ECE55i~FiY TO NtAkE 7Ni6 GUAftANtY
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